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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
v. Case No. 8:17-cr-372-T-33TGW
TYRONE DEVLIN
ORDER OF FORFEITURE

THIS CAUSE comes before the Court upon the United States of
America's motion for an order of forfeiture against the defendant in the amount
of $26,852.35.

Being fully advised of the relevant facts, the Court hereby finds that at
least $26,852.35 in proceeds Was obtained by the defendant as a result of his
participation in the conspiracy to commit theft of government property and
access device fraud charged in Count One of the Indictment, and the offenses of
theft of government property and access device fraud, charged in Counts TWo
and Three, for Which he pled guilty.

Accordingly, it is hereby:

ORDERED, ADJUDGED, and DECREED that for good cause shown,
the United States’ motion is GRANTED.

lt is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(l)(C)

and 982(a)(2)(B), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules

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of Criminal Procedure, the defendant shall be held liable for an order of
forfeiture in the amount of $26,852.35.

It is FURTHER ORDERED that, because the $26,852.35 in proceeds
Was dissipated by the defendant, the United States may seek, as a substitute
asset, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(l)
and/ or 28 U.S.C. § 246l(c), forfeiture of any of the defendant’s property up to
the value of $26,852.35.

It is FURTHER ORDERED that, upon entry, this order shall become a
final order of forfeiture as to the defendant

The Court retains jurisdiction to address any third party claim that may

be asserted in these proceedings, to enter any further order necessary for the

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forfeiture and disposition of such property, and for any substitute assets that the
United States may be entitled to seek up to the amount of the orde;)j forfeiture
day

DONE and ORDERED in Tampa, Florida, this ¢Qj

of ()UFW*/ ,2018.

VIRG IA/l\/l. HERN Z COVINGTON
UNIT D STATES DIST CT JUDGE

Copies to:
Suzanne C. Nebesky, AUSA
Counsel of Record

